Case: 3:22-cv-50188 Document #: 109 Filed: 01/10/23 Page 1 of 13 PageID #:720
Case: 3:22-cv-50188 Document #: 109 Filed: 01/10/23 Page 2 of 13 PageID #:721
     Case: 3:22-cv-50188 Document #: 109 Filed: 01/10/23 Page 3 of 13 PageID #:722




                Defendant reserves its rights to oppose any motion to amend pleadings or add
                additional parties on any basis. To the extent Plaintiffs amend their pleadings to
                include additional class representatives, they shall produce these class
                representatives’ documents and structured data, if any, promptly to Defendant.

        2.      Any motion that seeks to amend or supplement the pleadings must include a
                redlined version reflecting the changes contained in the proposed pleading. (See
                Fed. R. Civ. P. 15(a)).

        3.      The moving party may file a reply memorandum as a matter of right in connection
                with a motion for leave to amend a pleading. In such case, the initial motion and
                supporting papers must be filed no less than 21 days before the hearing date, and
                the reply must be filed no more than 7 days after the other side files its response
                arguing futility. The opening, opposition, and reply memoranda may not exceed 15
                pages pursuant to Local Rule 7.1 unless otherwise authorized.

C.      Rule 26(a) Disclosures
        The parties do not believe any changes should be made in the form or requirement for

disclosures under Rule 26(a). The parties held an initial 26(f) conference on December 7, 2022

and intend to make initial disclosures by January 31, 2023, that will include, at a minimum, the

information set forth in Rule 26(a)(1)(A)(i)-(iv). If the parties disclose documents by category and

location pursuant to Fed. R. Civ. P. 26(a)(1)(A)(ii), they will not produce copies of the documents

themselves concurrently with Rule 26(a) disclosures but will do so later in response to discovery

requests.

D.      Discovery & Discovery Limits

        The parties have done a reasonable investigation into their claims and at this time believe

the following discovery will be needed. Each party reserves its respective rights to seek discovery

on additional topics, and each party reserves its rights to oppose discovery on additional topics.

Where the parties have disputes regarding proposed discovery limits or issues, the parties have

included both Plaintiffs’ and Defendant’s proposals on the issue.

        Plaintiffs anticipate needing discovery on at least the following subjects:

     1. Basic discovery into Rule 23 factors for class certification;




                                                  3
    Case: 3:22-cv-50188 Document #: 109 Filed: 01/10/23 Page 4 of 13 PageID #:723




    2. Defendant’s technology relating to its agricultural equipment with onboard computers
       known as electronic control units (“Tractors”), 2 including development and deployment;

    3. Defendant’s diagnostic and repair tools for its Tractors and the availability thereof;

    4. The identity of and contact information (e.g., address, phone, and email) for all Deere
       Dealers;

    5. Diagnostic and repair on Tractors that only Deere Dealers can perform (e.g.,
       reprogramming of electronic control unit);

    6. Diagnostic and repair on Tractors that non-Deere dealers can perform;

    7. Defendant’s relationship with trade organizations representing manufacturers’ and alleged
       co-conspirator Dealers’ interests on issues related to Tractor repair and right to repair;

    8. Defendant’s informational resources related to Tractor diagnosis and repair;

    9. Alleged customer safety, security, and environment concerns that Deere has regarding
       providing software and informational resources necessary for repairs to non-Deere dealers;

    10. Defendant’s departments and/or personnel with responsibilities related to assisting Dealers
        and equipment owners with Tractor diagnosis and repair or creating informational
        resources related to Tractor diagnosis and repair;

    11. Deere’s representations regarding diagnostic and repair tools for its Tractors and the
        availability thereof;

    12. Defendant’s financial connections and interest in repair services purchased by Plaintiffs
        and/or debt incurred by Plaintiffs’ purchases of repair services;

    13. Consolidation in Defendant’s network of authorized Dealers;

    14. Defendant’s alleged collusion with alleged co-conspirator Dealers in the repair services
        market;

    15. Defendant’s and alleged co-conspirator Dealers’ conduct allegedly resulting in
        accessibility of repair tools and resources to farmers and independent repair shops;

    16. Defendant’s conduct concerning allegedly illegal tying of the sale of Deere repair services
        to Tractors);

    17. Defendant’s alleged monopoly leveraging conduct in the repair tools market to gain or
        maintain monopoly power in the repair services market;



2
 Capitalized terms used in this list shall have the meanings ascribed to them in the Consolidated
Class Action Complaint.


                                                 4
Case: 3:22-cv-50188 Document #: 109 Filed: 01/10/23 Page 5 of 13 PageID #:724




18. The effect of Defendant’s alleged anticompetitive conduct on the prices of Deere repair
    services sold in the United States during the Class Period;

19. Defendant’s relationship with alleged Co-conspirator Dealers;

20. Alleged Co-conspirator Dealers’ documents, books, and records in the possession, custody,
    or control of Defendant;

21. ESI considerations, such as location and extent of data and custodians;

22. Defendant’s organizational structures and departmental responsibilities as they relate to the
    issues raised in this action;

23. Discovery to rebut Deere’s affirmative defenses.

   Defendant anticipates needing discovery on the following subjects:

1. Rule 23 factors for class certification and facts underlying any expert analysis Plaintiffs
   proffer in support of certification;

2. The agricultural equipment purchased and/or owned by Plaintiffs, including but not limited
   to John Deere-branded equipment, and all repairs done to such equipment;

3. Information related to leasing or other financial arrangements Plaintiffs entered into to
   purchase John Deere-branded equipment;

4. Industry repair policies, services and tools, including diagnostic codes associated with John
   Deere equipment, pricing of services and tools across the industry; and Plaintiffs’ and class
   members’ knowledge thereof.

5. Customer support services and tools for John Deere-branded equipment, including
   information related to the pricing, availability, and capabilities of those services and tools,
   and Plaintiffs’ and class members’ use and knowledge thereof;

6. Regulatory requirements for the design and maintenance of John Deere-branded
   equipment;

7. Agreements entered into between John Deere and dealerships, customers and/or
   independent authorized dealers;

8. John Deere’s proprietary software;

9. Plaintiffs’ allegations regarding the “right to repair movement,” including efforts to pass
   “right to repair” legislation and other related activities by advocacy groups;

10. The alleged impact on Plaintiffs’ crops or other agricultural outputs that resulted from the
    actions allegedly attributed to John Deere in the CAC;



                                              5
   Case: 3:22-cv-50188 Document #: 109 Filed: 01/10/23 Page 6 of 13 PageID #:725




   11. Damages allegedly suffered by Plaintiffs;

   12. John Deere’s alleged market share for the agricultural equipment referenced in the CAC
       and repair and maintenance services for the same;

   13. Discovery to support John Deere’s affirmative defenses.

       The parties propose that fact discovery should be completed pursuant to the proposed

schedule at Section A, supra. The parties intend to commence discovery immediately in light of

the Court’s statements at the September 8, 2022 status conference. See Tr. of Proceedings 8:18-25

(Sept. 8, 2022).

       The parties jointly propose the following discovery plan:

       1.      Fact discovery must be commenced in time to be completed on or before
               Wednesday, April 24, 2024. Privilege log procedures shall be governed by the
               Joint Protocol for Production of Documents and Electronically Stored Information,
               which was agreed by the parties on November 1, 2022 and filed with the Court on
               November 18, 2022 (ECF No. 97). To facilitate the scheduling and taking of
               depositions, the parties also establish the following interim deadlines for the
               production of documents and data:

               a.     Rolling productions:

                      i.     A producing party shall begin rolling productions of documents in
                             response to the first sets of requests for production of documents
                             within 60 days after the parties complete the meet and confer process
                             on the requests, custodians, and search methodology, as required by
                             the Joint Protocol for Production of Documents and Electronically
                             Stored Information and any disputes related thereto are resolved by
                             Court order.

               b.     Structured data production should be complete by the later of July 28, 2023
                      or 90 days after the parties complete the meet and confer process on the
                      requests calling for structured data and any disputes related thereto are
                      resolved by Court order.

               c.     Document production should be substantially complete by October 4, 2023
                      for any document request served on or before February 13, 2023.

       2.      Limitations on Written Discovery:

               a.     Interrogatories: Interrogatories will be counted in accordance with Fed. R.
                      Civ. P. 33(a)(1). The parties must coordinate efforts and each side must
                      avoid serving duplicative or unduly burdensome interrogatories.


                                               6
Case: 3:22-cv-50188 Document #: 109 Filed: 01/10/23 Page 7 of 13 PageID #:726




                i.     Plaintiffs: Plaintiffs may jointly serve 35 interrogatories on
                       Defendant.

                ii.    Defendant: Defendant may serve 25 interrogatories on each of the
                       individual named Plaintiffs and 30 interrogatories on each of the
                       corporate named Plaintiffs.

                iii.   Interrogatories must be served no later than 90 days before the close
                       of fact discovery.

         b.     Rule 34 Document Requests

                i.     Consistent with Fed. R. Civ. P. 34, there shall be no limits on the
                       number of requests to produce the parties may serve. Defendant may
                       direct its requests to all Plaintiffs or, for any discrete issues, to an
                       individually named Plaintiff. No rights, obligations, or objections
                       available under the Federal Rules of Civil Procedure are modified
                       by this paragraph.

         c.     Requests for Admissions

                i.     The parties will meet and confer in good faith to determine if a
                       process for a stipulation and/or a deferred Rule 30(b)(6) deposition
                       can be agreed to concerning various evidentiary issues addressed in
                       the Federal Rules of Evidence (“FRE”), including authenticity (FRE
                       902 & 903), duplicates (FRE 1001(4) & 1003), the requirement for
                       a sponsoring witness to establish authenticity or best evidence, and
                       status of a document as a business record (FRE 803(6)). For any
                       documents for which the parties cannot agree upon a stipulation, a
                       party may serve, without limitation, any necessary requests for
                       admission to address any potential evidentiary objections.

                ii.    With respect to requests for admission not pertaining to the
                       evidentiary issues addressed in the prior paragraph, all parties must
                       endeavor to coordinate to ensure that any such requests do not
                       cause unnecessary duplication. With respect to such non-
                       evidentiary issues, Plaintiffs may jointly serve 50 requests for
                       admission on Defendant, and Defendant may serve 50 requests for
                       admission on each named Plaintiff.

                iii.   Requests for Admissions must be served no later than 90 days
                       before the close of fact discovery.




                                          7
Case: 3:22-cv-50188 Document #: 109 Filed: 01/10/23 Page 8 of 13 PageID #:727




   3.    Depositions:

         a.     Plaintiffs:

                i.      Plaintiffs, collectively, may take no more than 20 Rule 30(b)(1)
                        depositions of no more than 7 hours each. Depositions of expert
                        witnesses or third parties, including any deposition of a former
                        employee of Defendant who is not made available for deposition
                        by that Defendant, will not be counted toward this limit.

                ii.     Plaintiffs may take one Rule 30(b)(6) deposition of no more than
                        28 hours of Defendant, regardless of the number of designees
                        identified to testify. Regardless of the number of designees
                        identified to testify, this Rule 30(b)(6) deposition will be
                        conducted in no less than 4 separate days.

         b.     Defendant:

                i.      Defendant may take one Rule 30(b)(1) deposition of no more than 7
                        hours each per corporate named Plaintiff with less than 10
                        employees and up to two Rule 30(b)(1) depositions of no more than
                        7 hours each per corporate named Plaintiff with 10 employees or
                        more, and one Rule 30(b)(1) deposition of no more than 7 hours
                        each per individual named Plaintiff. Depositions of expert witnesses
                        or third parties, including any deposition of a former employee of a
                        Plaintiff who is not made available for deposition by that Plaintiff,
                        will not be counted toward this limit.

                ii.     Defendant may take one Rule 30(b)(6) deposition per named
                        corporate Plaintiff of no more than 7 hours, regardless of the number
                        of designees identified to testify.

         c.     30(b)(6) Witnesses: In the event that any percipient witness who has
                received a deposition notice also is likely to be designated as a Rule 30(b)(6)
                representative, or in the event that any Rule 30(b)(6) designee also is likely
                to be deposed in his or her individual capacity, the parties will use their best
                efforts to coordinate so as to avoid multiple depositions of the same witness;
                however, no party shall be forced to prematurely engage in Rule 30(b)(6)
                depositions, or notice topics for such depositions, before they determine it
                is most efficient to do so. Additionally, no deponent may be deposed for
                more than 7 hours in a single day.

         d.     Third Parties.

                i.      Each side shall be allowed to notice 15 depositions of third parties
                        of no more than seven hours each.




                                           8
     Case: 3:22-cv-50188 Document #: 109 Filed: 01/10/23 Page 9 of 13 PageID #:728




        4.    Third-Party Subpoenas:

              a.     Absent good cause to the contrary, all third-party subpoenas must be served
                     in sufficient time, taking into account the nature and volume of the material
                     requested, to allow for resolution of reasonably anticipated disputes and
                     production of the material requested no later than the deadline for the
                     completion of all fact discovery. In no event shall third-party subpoenas be
                     served less than 60 days prior to the deadline for completion of fact
                     discovery.

              b.     Plaintiffs and Defendant must give each side notice of the issuance of a
                     third-party subpoena. Such notice must be given at least four (4) days in
                     advance. Plaintiffs and Defendant must exchange all third-party
                     productions within 14 days of receipt of the productions or at least 14 days
                     before the deposition of the producing third party, whichever is earlier.

        5.    Each side reserves their respective rights to seek additional discovery beyond the
              limits herein for good cause shown, and each side reserves their rights to oppose
              such requests.

E.      Expert Discovery

        1.    Some or all of the parties anticipate retained experts on the following subjects:
              economic issues relevant to class certification, liability, and damages; agricultural
              industry; agricultural equipment technology, development, and deployment;
              agricultural equipment repair; right to repair movement; applicable regulations.

        2.    Unless otherwise agreed to by the parties, all expert material, including back-up
              data, relied upon in any expert report pertaining to class certification/merits must
              be produced no later than three business days after service of the expert report.

        3.    Plaintiffs must serve expert report(s) in support of class certification/merits on or
              before Wednesday, May 22, 2024.

        4.    Defendant must serve rebuttal class certification/merits expert report(s) on or
              before Monday, August 5, 2024.

        5.    Plaintiff must serve reply class certification/merits expert report(s) on or before
              Monday, October 21, 2024.

        6.    Depositions of expert witnesses:

              a.     The parties shall be entitled to one deposition of each expert, provided that,
                     where a single expert provides both opening and reply reports on an issue,
                     the other side shall not be entitled to a second deposition of that expert
                     unless the reply report includes new analysis not included in the opening
                     report and not directly responsive to a criticism raised by the opposing
                     party’s expert. An expert who provides a report in support of class


                                                 9
     Case: 3:22-cv-50188 Document #: 109 Filed: 01/10/23 Page 10 of 13 PageID #:729




                        certification and again in support of merits arguments shall be treated as two
                        experts for purposes of applying these deposition limits.

                b.      Unless otherwise agreed to by the parties or for good cause shown, each
                        deposition of an expert witness shall be limited to a maximum of seven (7)
                        hours.

                c.      Unless otherwise agreed to by the parties or for good cause shown, all
                        experts shall be deposed no later than 21 days before Daubert motions are
                        due. Each party is obligated to ensure its expert is available at a mutually
                        convenient date for all parties to facilitate meeting this deadline. If
                        Defendant chooses to depose Plaintiffs’ expert before service of its rebuttal
                        expert report, Plaintiffs are obligated to ensure its expert is available at a
                        mutually convenient date for all parties at least 21 days before Defendant’s
                        rebuttal report is due.

         7.     Supplemental expert reports pertaining to class certification/merits are not allowed
                absent leave of Court. The Court will exercise its discretion using Rule 16(b)(4)’s
                standard.

         8.     The parties must file any Daubert motion seeking to exclude expert opinions
                pertaining to class certification/merits on or before Monday, November 25, 2024.

         9.     The parties must file opposition(s) in response to any pending Daubert motion(s)
                pertaining to class certification/merits experts on or before Monday, January 13,
                2025.

         10.    The parties must file replies in support of Daubert motion(s) pertaining to class
                certification/merits experts on or before Wednesday, February 12, 2025.

F.       Class Certification Briefing

         1.     Plaintiffs must file their Motion for Class Certification within 45 days from this
                Court’s ruling on pending Daubert motion(s) seeking to exclude expert opinions
                pertaining to class certification/merits.

         2.     Defendant must file its Opposition to Plaintiffs’ Motion for Class Certification
                within 45 days from the filing of Plaintiffs’ Motion for Class Certification.

         3.     Plaintiffs must file their reply in support of Class Certification within 45 days from
                Defendant’s Opposition to Plaintiffs’ Motion for Class Certification.

G.       Remainder of Schedule and Dispositive Motions

         The parties agree that it would be premature at this time to set a deadline through trial. The

parties have proposed deadlines through a hearing on Rule 56 motions and have proposed that the



                                                  10
     Case: 3:22-cv-50188 Document #: 109 Filed: 01/10/23 Page 11 of 13 PageID #:730




Court hold a status conference once Rule 56 motions are decided to discuss pre-trial issues,

including the structure and length of the trial, motions in limine, the final pretrial conference, and

other issues related to the trial.

H.       ESI

         The parties do not anticipate any issues about disclosure, discovery, or preservation of ESI.

The parties have already agreed on, and the Court has entered, the ESI Protocol, which addresses

the form or forms in which ESI should be produced (ECF No. 97).

I.       Claims of Privilege or Protection Issues

         At this time, there are no ripe issues about claims of privilege or of protection. The parties

have already agreed on, and the Court has entered, a Protective Order and Rule 502(d) Order (ECF

Nos. 98, 99).

J.       Other Orders

         The parties do not believe the Court should issue any other orders at this time except for

the proposed case schedule set forth at Section A, supra.

J.       Alternative Dispute Resolution Mediation

         Pursuant to the Court’s Rule 26(f) Model Report, counsel for Plaintiffs and counsel for

Defendant certify under 28 U.S.C. § 1746 that their clients have read the Pamphlet governing the

Court’s mediation program, that counsel explained the dispute resolution options available from

the Court and private entities, and that counsel considered how this case might benefit from those

options. Further, counsel certify that they gave their clients an estimate of fees and costs to litigate

this matter through trial, as well as an estimate of the fees and costs of an early successful

mediation. Lastly, if this is a fee shifting case, counsel for Defendant certifies they have discussed

the advantages and disadvantages of making a Rule 68 offer of judgment. The parties understand




                                                  11
     Case: 3:22-cv-50188 Document #: 109 Filed: 01/10/23 Page 12 of 13 PageID #:731




that failure to comply with these requirements will result in sanctions. See Fed. R. Civ. P. 16(c),

(f). The parties jointly request this case be excused from ADR at this time.


K.       No Amendment of Dates

         The parties understand that counsel may not stipulate to extend discovery deadlines,

including for depositions, beyond the dates already set in this Case Management Order. The parties

further understand that the dates will not be amended absent a showing of good cause. The parties

understand that with entry of this Case Management Order, the deadlines set out in the order are

governed by Fed. R. Civ. P. 16(b)(4), and requests for extensions require a showing of good cause

under that Rule. The parties also understand that motions for extensions of time should be brought

as soon as possible, but at a minimum before the cut-off date. The parties understand that failure

to do so does not demonstrate diligence, and runs the serious risk that the motion will be denied.

See McCann v. Cullinan, 11 CV 50125, 2015 U.S. Dist. LEXIS 91362 (N.D. Ill. Jul. 14, 2015).


L.       Miscellaneous

         The parties believe at this time that regular status conferences (e.g., every quarter) will

facilitate the expeditious, economical, and just resolution of this action. A complex antitrust class

action presents special case management issues, in particular the management of discovery and

keeping to the Court’s scheduling orders. Given the issues likely to arise in the course of litigating

this complex matter, as well as the role of the Court in overseeing and resolving discovery issues

in this action, the parties believe that they would benefit from regular status conferences by




                                                 12
  Case: 3:22-cv-50188 Document #: 109 Filed: 01/10/23 Page 13 of 13 PageID #:732




telephone (or as otherwise ordered by the Court) on dates and at times convenient for the Court.

See Manual for Complex Litigation, Fourth §11.22 (2004).



IT IS SO ORDERED

Signed on this tenth day of January, 2023.




                                                        HONORABLE IAIN D. JOHNSTON
                                                UNITED STATES DISTRICT COURT JUDGE




                                              13
